
¶ 1 Department I of the Court, composed of Chief Justice Fairhurst and Justices Johnson, Owens, Wiggins and Gordon McCloud, considered at its April 30, 2019, Motion Calendar whether review of this ease should be granted pursuant to RAP 13.4(b). The petition for review challenges the imposition of legal financial obligations consisting of a criminal filing fee, DNA collection fee, and a provision for interest to accrue on the financial obligations. The Department unanimously agreed that in light of 2018 amendments to the statutes governing legal financial obligations and this court's decision in State of Washington v. David Angel Ramirez, 191 Wn.2d 732, 426 P.3d 714 (2018), the trial court may not require an indigent defendant to pay the $ 200 criminal filing fee as a legal financial obligation. In addition, RCW 43.43.7541 precludes the imposition of the DNA collection fee if the defendant's DNA has already been collected in connection with a prior conviction. Further, RCW 10.82.090(1) provides that as of June 7, 2018, no interest shall accrue on nonrestitution legal financial obligations. The Department therefore unanimously agreed that the following order be entered.
¶ 2 IT IS ORDERED:
¶ 3 That the petition for review is granted and the ease is remanded to the trial court to amend the judgment and sentence to strike the requirement to pay the $ 200 criminal filing fee, reconsider the DNA collection fee to determine whether the Petitioner's DNA has already been collected, and amend the interest provisions to reflect that interest will not accrue on nonrestitution legal financial obligations after June 7, 2018.
For the Court
/s/ Fairhurst, CJ. CHIEF JUSTICE
